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                                  No. 6:20-cv-00478

                              Tonja Hawthorne et al.,
                                     Plaintiffs,
                                         v.
                           Judge Vincent Dulweber et al.,
                                    Defendants.


                                       ORDER

               Plaintiffs filed this dispute on August 31, 2020. Doc. 1. This
            case was then referred to United States Magistrate Judge John
            D. Love (Doc. 4), who issued the relevant report and recom-
            mendation. Doc. 8.
                Plaintiffs filed an amended complaint on September 2,
            2020. Doc. 5. The magistrate judge reviewed both complaints
            and determined that it did not have subject matter jurisdiction
            over plaintiffs’ claims. Doc. 6. Because the plaintiffs were pro
            se, the court ordered them to amend their complaint to ad-
            dress its deficiencies. See id. The plaintiffs received the order
            on September 14, 2020 but did not respond or otherwise
            timely amend their complaint as ordered. See Doc. 7.
                On October 21, 2020, the magistrate judge issued a report
            recommending that plaintiffs’ complaint be dismissed with-
            out prejudice because they failed to state a claim upon which
            relief can be granted and failed to timely comply with a court
            order. Doc. 8. A copy of this report and recommendation was
            mailed to plaintiffs’ address and they received it on January
            28, 2021. Doc. 10. Neither party has filed objections to the
            magistrate judge’s report and recommendation in the allotted
            timeframe.
               When there have been no timely objections to a magistrate
            judge’s report and recommendation, the record is only re-
            viewed for clear error. Douglass v. United Servs. Auto. Ass’n, 79
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            F.3d 1415, 1420 (5th Cir. 1996). Having reviewed the magis-
            trate judge’s report (Doc. 8), and being satisfied that it con-
            tains no clear error, the court accepts its findings and recom-
            mendation. Plaintiffs’ claims are dismissed without preju-
            dice.
                               So ordered by the court on February 22, 2021.



                                              J. C AMPBELL B ARK ER
                                            United States District Judge




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